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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                             NORTHERN DISTRICT OF CALIFORNIA

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                                  7      GERALD ORNSTEIN, et al.,
                                                                                       Case No. 18-cv-01616-PJH
                                  8                   Plaintiffs,

                                  9              v.                                    ORDER GRANTING SUMMARY
                                                                                       JUDGMENT
                                  10     GIBSON T. CANITES, et al.,
                                                                                       Re: Dkt. No. 81
                                  11                  Defendants.

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                                  13          Plaintiffs’ motion for partial summary judgment came on for hearing before this
                                  14   court on May 1, 2019. Plaintiffs appeared through their counsel, TJ Lloyd and Jeffrey
                                  15   Lowenthal. Defendant Gibson Canites appeared pro se and defendants Rose Liang-
                                  16   Canites and Aaren Canites (together with Gibson Canites, the “Canites” or the
                                  17   “defendants”) did not appear. Having read the papers filed by the parties and carefully
                                  18   considered their arguments and the relevant legal authority, and good cause appearing,
                                  19   the court hereby GRANTS plaintiffs’ motion, for the following reasons.
                                  20                                        BACKGROUND
                                  21   A.     The Subject Loan
                                  22          The Canites are the owners of the real property located at 448 15th Avenue, San
                                  23   Francisco, California (the “Subject Property”). Dkt. 81-3, Kristul Decl. ¶¶ 3-4. In May of
                                  24   2016, plaintiffs, through their agent Yeva, Inc. dba Saxe Mortgage Company (“Saxe”),
                                  25   agreed to lend the Canites $1,600,000, with an interest rate of 10.5% (the “Subject
                                  26   Loan”), to pay off existing senior deeds of trust secured against the Subject Property, as
                                  27   well as property taxes and other assessments. Id. ¶ 4.
                                  28          The Subject Loan required the Canites to make thirty-five monthly interest-only
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                                  1    payments in the amount of $14,000 and a lump sum payment covering all remaining

                                  2    amounts due—$1,614,000—on June 1, 2019. Kristul Decl., Ex. 1 at ¶ 3.

                                  3           Plaintiffs’ loan was memorialized by a Note dated May 9, 2016 (the “Note”), which

                                  4    was secured against the Subject Property by a Deed of Trust (the “Deed of Trust”),

                                  5    recorded on May 19, 2016. Kristul Decl. ¶ 5, Exs. 1-2. The Note and the Deed of Trust

                                  6    provide for the payment of late fees, interest, and reasonable attorneys’ fees and costs in

                                  7    the event of a default. Kristul Decl., Ex. 1 ¶ 4(C)

                                  8    B.     Liens Against the Subject Property

                                  9           At the time that plaintiffs made the Subject Loan to the Canites, plaintiffs believed

                                  10   that the subject property was encumbered by four senior deeds of trust:

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                                  16   Kristul Decl. ¶¶ 7-9, Exs. 7-9. The Subject Loan paid off in full the then-outstanding

                                  17   balances of those four senior deeds of trust. Id. However, unbeknownst to plaintiffs, the

                                  18   following additional liens existed against the subject property, id. ¶ 9:

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                                  10   Kristul Decl. ¶ 14. While plaintiffs have named each of those additional lienholders as

                                  11   defendants in this action, not all of those lienholders have appeared in this action.

                                  12   C.     The Canites’ Default
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                                  13          Initially, the Canites made payments on the loan for the months of July, August,

                                  14   and September 2016. Kristul Decl. ¶ 10. After those payments, the Canites made only

                                  15   five other payments, id. ¶¶ 10-12, Ex. 10, and the Canites have been in default since May

                                  16   17, 2017. Id. ¶ 12.

                                  17          As of March 20, 2019, the amount of the accelerated principal, interest and

                                  18   recoverable charges totals $2,035,846.28. Id. ¶ 16, Ex. 11.

                                  19   D.     Lien Priority Stipulation

                                  20          Plaintiffs and the appearing lienholder defendants stipulated to, and the court

                                  21   approved, a schedule of priority for those parties’ respective liens against the subject

                                  22   property. Dkt. 55.

                                  23          Plaintiffs now move for summary judgment on three of their seven causes of

                                  24   action: (1) Equitable Subrogation, (2) Judicial Foreclosure of the Subject Deed of Trust,

                                  25   and (3) Judicial Foreclosure of Equitable Lien.1 The Canites, for their part, have neither

                                  26   disputed the above facts nor provided any independent evidence in support of their

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                                        Though plaintiffs’ motion also sought a deficiency judgment against the Canites,
                                       plaintiffs’ counsel subsequently withdrew that request.
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                                  1    opposition to plaintiffs’ motion.

                                  2                                           DISCUSSION

                                  3    A.     Legal Standard

                                  4           Summary judgment is proper where the pleadings, discovery, and affidavits show

                                  5    that there is “no genuine dispute as to any material fact and the movant is entitled to

                                  6    judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material facts are those which may

                                  7    affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

                                  8    (1986). A dispute as to a material fact is genuine if there is sufficient evidence for a

                                  9    reasonable jury to return a verdict for the nonmoving party. Id.

                                  10          The moving party for summary judgment bears the initial burden of identifying

                                  11   those portions of the pleadings, discovery, and affidavits which demonstrate the absence

                                  12   of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986);
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                                  13   Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). When

                                  14   the moving party has met this burden of production, the nonmoving party must go beyond

                                  15   the pleadings and, by its own affidavits or discovery, set forth specific facts showing that

                                  16   there is a genuine issue for trial. Id. If the nonmoving party fails to produce enough

                                  17   evidence to show a genuine issue of material fact, the moving party wins. Id.

                                  18          At summary judgment, the court must view the evidence in the light most favorable

                                  19   to the nonmoving party: if evidence produced by the moving party conflicts with evidence

                                  20   produced by the nonmoving party, the judge must assume the truth of the evidence set

                                  21   forth by the nonmoving party with respect to that fact. See Tolan v. Cotton, 134 S. Ct.

                                  22   1861, 1865 (2014); Leslie v. Grupo ICA, 198 F.3d 1152, 1158 (9th Cir. 1999).

                                  23   B.     Analysis

                                  24          1.     Whether Summary Judgment Should be Granted On Plaintiffs’ Judicial

                                  25                 Foreclosure Claims

                                  26          California Code of Civil Procedure §§ 725a, et seq., governs judicial foreclosure

                                  27   procedures. Section 725a provides that “the beneficiary or trustee named in a deed of

                                  28   trust . . . with power of sale upon real property or any interest therein to secure a debt or
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                                  1    other obligation . . . shall have the right to bring suit to foreclose the same in the manner

                                  2    and subject to the provisions, rights and remedies relating to the foreclosure of a

                                  3    mortgage upon such property.” In short, plaintiffs “must prove that the subject loan is in

                                  4    default and the amount of default.” Coker v. JPMorgan Chase Bank, N.A., 62 Cal. 4th

                                  5    667, 672 (2016) (internal quotation marks omitted).

                                  6           Here, it is undisputed that the Deed of Trust names the plaintiffs as the

                                  7    beneficiary. Kristul Decl., Ex. 2 at 1, 7. It is also undisputed that the Canites are in

                                  8    default, see Kristul Decl. ¶¶ 10-12, and that the Deed of Trust provides that, in the event

                                  9    of default, plaintiffs may accelerate all sums secured by the loan and the Deed of Trust

                                  10   and seek foreclosure. Kristul Decl., Ex. 1 ¶ 4, Ex. 2 ¶ 18.

                                  11          The only other fact plaintiff must prove is the amount of the default. Plaintiffs have

                                  12   presented evidence that, as of March 20, 2019, the default totals $2,035,846.28. In
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                                  13   response the Canites argue only (1) that the requested attorneys’ fees, which are

                                  14   provided for under the contract, are unreasonable and (2) that the contractual interest

                                  15   rate is usurious. The court finds those arguments unpersuasive.

                                  16          As to the former, plaintiffs seek $28,991.65 in attorneys’ fees and costs. The court

                                  17   finds that amount to be reasonable and supported by the evidence. See Dkt. 81-1,

                                  18   Brown Decl. ¶ 3; Dkt. 81-2, Lloyd Decl. ¶¶ 13-15. The Canites’ challenge to that amount

                                  19   lacks any evidentiary support or relevant legal argument.

                                  20          Invoking Article XV § 1(1) of the California Constitution, the Canites’ latter

                                  21   argument contends that the contractual 10.5% interest rate is usurious. See Cal. Const.

                                  22   Art. XV § 1(1) (setting ten percent per annum interest rate cap for certain types of loans).

                                  23   That provision, however, does not apply to the Subject Loan because it was arranged by

                                  24   a licensed real estate broker and secured by a lien on real property. See Cal. Civ. Code

                                  25   § 1916.1; Dkt. 88-1, Kristul Supp. Decl. ¶ 3.

                                  26          Accordingly, the court finds that plaintiffs’ motion for summary judgment on its two

                                  27   foreclosure claims, causes of action three and five, must be GRANTED.

                                  28          2.     Whether Summary Judgment Should Be Granted on Plaintiffs’
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                                  1                   Equitable Subrogation Claim

                                  2           Plaintiffs next move for summary judgment on their equitable subrogation claim,

                                  3    which would, if granted, give portions of their lien senior priority over certain lienholders.

                                  4    The Canites do not oppose plaintiffs’ motion for equitable subrogation. And the

                                  5    appearing lienholder defendants have stipulated to their respective lien priorities. Thus,

                                  6    only the non-appearing lienholder defendants have an interest in this issue.

                                  7           Here, plaintiffs only request equitable subrogation of their lien to the extent the

                                  8    proceeds of the Subject Loan were used to pay off the four senior deeds of trust

                                  9    discussed above. See Kristul Decl. ¶ 14; Lloyd Decl. ¶¶ 6-7, Exs. 15, 17-18. That

                                  10   request properly applies California’s “first in time, first in right” system of lien priorities.

                                  11   See JP Morgan Chase Bank, N.A. v. Banc of Am. Practice Sols., Inc., 209 Cal. App. 4th

                                  12   855, 860 (2012). Under that system, where, as here, a lender pays off a senior
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                                  13   encumbrance in order to secure a new loan with a first trust deed, the lender has

                                  14   sufficient interest to entitle it to subrogation to the rights of the senior encumbrance. See

                                  15   Smith v. State Savings & Loan Assn., 175 Cal. App. 3d 1092, 1099. (1985).

                                  16          Accordingly, the court GRANTS plaintiffs’ motion for summary judgment on its

                                  17   second cause of action for equitable subrogation.

                                  18                                            CONCLUSION

                                  19          For the foregoing reasons, plaintiffs’ motion for summary judgment is GRANTED

                                  20   on plaintiffs’ second, third, and fifth causes of action.

                                  21          A Further Case Management Conference shall be held on July 18, 2019, at

                                  22   2:00 p.m., in Courtroom 3, 3rd Floor, Federal Building, 1301 Clay Street, Oakland,

                                  23   California, to address the resolution of the remaining claims.

                                  24          The parties shall appear in person or through lead counsel and shall be prepared

                                  25   to discuss all items referred to in Fed. R. Civ. P. 16(c) and Civil L. R. 16-10. The parties

                                  26   shall file a joint case management statement no later than seven (7) days before the date

                                  27   of the conference. If any party is proceeding without counsel, separate statements may

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                                  1    be filed by each party.

                                  2           IT IS SO ORDERED.

                                  3    Dated: May 24, 2019

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                                                                            PHYLLIS J. HAMILTON
                                  5                                         United States District Judge
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